Case 1:04-cr-00010-MW-GRJ         Document 594      Filed 12/03/07   Page 1 of 1




                                                                          Page 1 of 1


                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF FLORIDA
                            GAINESVILLE DIVISION

UNITED STATES OF AMERICA,

      Plaintiff,

v.                                             CASE NO.: 1:04-CR-010-SPM


JOHNNY GEORGE,

     Defendant.
________________________________/

                   ORDER CONTINUING REVOCATION HEARING

      THIS CAUSE comes before the Court upon “Defendant’s Motion to

Continue Revocation Hearing” (doc. 593). As grounds, defense counsel states

the need for the state proceedings to be completed. Defendant’s state court trial

is scheduled for December 7, 2007.

      Finding good cause for the postponement, it is it is hereby ORDERED

AND ADJUDGED that the motion (doc. 586) is granted and the revocation

hearing is reset for Monday, January 7, 2008 at 1:30pm at the United States

Courthouse in Gainesville, Florida.

      DONE AND ORDERED this third day of December, 2007.


                                      s/ Stephan P. Mickle
                                  Stephan P. Mickle
                                  United States District Judge
